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                            No. 23-16102
__________________________________________________________________
            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

                               JUSTIN DOWNING,
      INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED,

                                                         Plaintiff-Appellant,
                                       v.
         LOWE’S COMPANIES, INC., A NORTH CAROLINA CORPORATION;
        FIRST ADVANTAGE CORPORATION, A DELAWARE CORPORATION;
                     LOWE’S HOME CENTERS, LLC,
                                                     Defendants-Appellees.

                           On Appeal from an Order
         of the United States District Court for the District of Arizona
                            No. 3:22-cv-08159-SPL

        Brief For Defendant-Appellee Lowe’s Home Centers, LLC


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                             Disclosure Statement

      Under Federal Rule of Appellate Procedure 26.1, the undersigned counsel of

record certifies that Defendant-Appellee Lowe’s Home Centers, LLC is a wholly

owned subsidiary of Lowe’s Companies, Inc., a publicly held corporation. No other

entity has an ownership interest of 10% or more in Lowe’s Home Centers, LLC.




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                                     Introduction

       When Justin Downing applied for a job with Lowe’s Home Centers, LLC

(“Lowe’s”), he received a disclosure statement informing him that Lowe’s would

obtain his background report for employment purposes. The disclosure defined the

term “background report,” and explained what kinds of information the background

report would and would not include. Downing now claims that the disclosure

violated the Fair Credit Reporting Act (the “FCRA”) because, he says, it was

confusing and included extraneous information.            The district court correctly

dismissed Downing’s claims against Lowe’s, and this Court should affirm.1

       The district court’s decision was based on the plain text of Lowe’s disclosure

and this Court’s controlling decision in Walker v. Fred Meyer, Inc., 953 F.3d 1082

(9th Cir. 2020). As the district court explained, Lowe’s disclosure satisfies the

FCRA because it informs the reader “that a consumer report may be obtained for

employment purposes,” and provides a “concise explanation of what that phrase




1   Downing also sued the company that procured the background report, arguing
    that the report was inaccurate because it improperly included three convictions
    that had been set aside. Those claims are still being litigated in the district court,
    and are not relevant to this appeal. Additionally, the First Amended Complaint,
    ER-29, replaced Lowe’s Companies, Inc. with Lowe’s Home Centers, LLC as
    the sole Lowe’s defendant. Thus, Lowe’s Home Centers, LLC is the only
    defendant-appellee in this appeal.

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means” by describing “what type of information may be included in the ‘consumer

report.’” Id. at 1088–89; ER-15–20.

      On appeal, Downing makes the same two arguments regarding Lowe’s

disclosure that the district court correctly rejected below. First, he argues that the

disclosure violates the FCRA’s “standalone” requirement because it states that

Lowe’s will obtain a background report regarding the reader or the reader’s

“child/ward,” and will not seek certain credit information without separate

authorization. Second, he contends that Lowe’s disclosure violates the FCRA’s

“clear and conspicuous” requirement because that same language is confusing. As

the district court correctly concluded, both of these arguments fail.

      As for the first argument, Downing’s challenge is foreclosed by this Court’s

decision in Walker, which held that a disclosure may contain an explanation of “what

type of information may be included in the ‘consumer report’” without running afoul

of the FCRA’s “standalone” requirement. 953 F.3d at 1088–89. “Such information”

“further[s] the purpose of the disclosure by helping the consumer understand the

disclosure,” thus promoting “Congress’ purpose to protect consumers from improper

invasions of privacy.” Id. at 1089. As for the second argument, Lowe’s seeks

information relating to job applicants, as the FCRA allows, whether that applicant is

the reader of Lowe’s disclosure or, in the case of a minor job applicant, the reader’s

child (or ward). No reasonable job applicant would assume that Lowe’s seeks



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background information concerning the applicant’s children.            Nor could any

reasonable reader misconstrue the final sentence of the disclosure, informing the

reader that Lowe’s will not seek the applicant’s credit information.

       In any event, Downing lacks standing to challenge either of these purported

FCRA violations because he has not alleged facts showing how he was injured by

them—for example, Downing does not allege that he had children, that Lowe’s

sought their background information after he authorized a consumer report, that he

was unaware that Lowe’s would seek his consumer report, or that Lowe’s requested

a consumer report that went beyond his expectations based on the disclosure. Nor

does he explain how the purported technical violations he raises on appeal could

have impacted his decision to authorize the consumer report.2

       Even if Downing could overcome these obstacles, his appeal still would fail

on the alternative ground that any purported violation was not willful, and he has

abandoned his half-hearted claim for a negligent violation (which requires showing




2   In 2018 (four years before the 2022 job application at issue here), Downing made
    virtually identical allegations against another prospective employer, claiming that
    he was confused by the employer’s disclosure form and that he did not understand
    that he was consenting to the employer obtaining his consumer report. See
    Compl., Downing v. Haven Health Grp., LLC, No. 3:18-cv-8109 (D. Ariz. May
    23, 2018), ECF 1. Downing was represented in that case by the same law firms
    that represent him here. See id. at 13–14. The existence of that case and
    Downing’s allegations are subject to judicial notice. See, e.g., Reyn’s Pasta
    Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006).

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actual damages). See 15 U.S.C. § 1681o(a)(1) (requiring actual damages for a claim

of negligent noncompliance with the FCRA). “To prove a willful violation” of the

FCRA, Downing would need to plausibly allege “not only that [Lowe’s]

interpretation” of the FCRA “was objectively unreasonable, but also that [Lowe’s]

ran a risk of violating the statute that was substantially greater than the risk

associated with a reading that was merely careless.” Marino v. Ocwen Loan

Servicing LLC, 978 F.3d 669, 673 (9th Cir. 2020). Downing cannot possibly make

that showing here. Where, as here, “the applicable language of the FCRA is ‘less

than pellucid,’ . . . a defendant will nearly always avoid liability so long as an

appellate court has not already interpreted that language” to prohibit the defendant’s

conduct. Id. at 673–74 (quoting Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 70

(2007)). “This is not a case in which” Lowe’s “had the benefit of guidance from the

courts of appeals or the Federal Trade Commission (FTC) that might have warned it

away from the view it took.” Safeco, 551 U.S. at 70. To the contrary, Lowe’s

interpretation of the law is supported by this Court’s decision in Walker,

administrative guidance from the Federal Trade Commission, and the district court’s

analysis on the merits below. And, even assuming that Lowe’s and the district court

were wrong on the merits, there is no basis for concluding that Lowe’s and the

district court’s interpretation of the FCRA was reckless or objectively unreasonable.




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      The FCRA’s “standalone” and “clear and conspicuous” requirements are not

meant to encourage plaintiffs, attorneys, or courts to redline an employer’s

disclosure in an effort to manufacture a violation. Rather, they are meant to ensure

that consumers have sufficient information to meaningfully authorize a consumer

report. Lowe’s clearly provided that information here. As the district court correctly

held, that is all that the FCRA requires.

                              Statement Of Jurisdiction

      Lowe’s agrees with Downing’s statement of this Court’s statutory

jurisdiction, and agrees that the district court’s order and judgment are final under

Federal Rule of Civil Procedure 54(b).

                               Statement Of The Issues

      1.       Whether the district court correctly concluded that Lowe’s disclosure

complies with the FCRA’s standalone requirement under Walker v. Fred Meyer,

Inc., 953 F.3d 1082 (9th Cir. 2020).

      2.       Whether the district court correctly concluded that Lowe’s disclosure

was clear and conspicuous.

      3.       Whether Downing has standing to raise the arguments he makes on

appeal.

      4.       Whether Downing plausibly alleged that Lowe’s willfully violated the

FCRA.



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                              Statement Of The Case

I.    The Fair Credit Reporting Act

      The Fair Credit Reporting Act (“FCRA”) provides that a prospective

employer may obtain an applicant’s consumer report “for employment purposes”

during the hiring process. 15 U.S.C. § 1681b. To obtain an applicant’s consumer

report, the employer must first provide “a clear and conspicuous disclosure . . . in

writing to the consumer . . . in a document that consists solely of the disclosure, that

a consumer report may be obtained for employment purposes.”                          Id.

§ 1681b(b)(2)(A)(i).

      As relevant here, the FCRA includes two requirements: First, the document

must “consist[] solely of the disclosure,” meaning that the disclosure must “stand

alone.” Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1087 (9th Cir. 2020). Second,

the disclosure must be “clear and conspicuous,” meaning that it must be in a

“reasonably understandable form that is readily noticeable to the consumer.” Luna

v. Hansen & Adkins Auto Transp., Inc., 956 F.3d 1151, 1153 (9th Cir. 2020)

(quotation marks omitted).

      The FCRA provides a private cause of action only for willful or negligent

violations. 15 U.S.C. §§ 1681n, 1681o. For willful violations, a plaintiff may seek

either statutory damages or “actual damages.” Id. § 1681n(a)(1)(A). For negligent

violations, a plaintiff may recover (and thus must adequately plead) only actual



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damages. Id. § 1681o. On appeal, Downing advances only a willful violation

theory.3 See Downing Br. at 28–30.

II.      Downing Authorizes Lowe’s To Obtain His Background Report

         Justin Downing applied for a job at a Lowe’s store in Show Low, Arizona.

ER-33. As part of the application process, Lowe’s provided Downing with an online

application packet that included the following written disclosure:

         DISCLOSURE REGARDING BACKGROUND REPORT

         Lowe’s Companies, Inc. and/or its affiliates, including Lowe’s Home
         Centers, LLC, (“Lowe’s”) may obtain a “background report” about you
         or your child/ward for employment purposes from a third-party
         consumer reporting agency. “Background report” means any written,
         oral, or other communication of any information by a consumer
         reporting agency bearing on your or your child’s/ward’s credit
         worthiness, credit standing, credit capacity, character, general
         reputation, personal characteristics, or mode of living. The reports may
         include information regarding your or your child’s/ward’s history,
         criminal history, social security verification, motor vehicle records,
         verification of your education or employment history, or other
         background check results.

         Lowe’s will not request any information related to your or your
         child’s/ward’s worthiness, credit standing, or credit capacity without
         providing you or your child/ward, separately, with information related
         to the use of that information and obtaining separate authorization from
         you to obtain such information, where required.


3     Downing’s First Amended Complaint included an allegation that Lowe’s
      negligently violated the FCRA. ER-42–43, 45–46. In its motion to dismiss,
      Lowe’s explained that Downing’s claim for a negligent FCRA violation was
      foreclosed because Downing failed to allege any actual damages. The district
      court held that Lowe’s did not violate the FCRA, so it never reached the question
      of whether any alleged violation could have been negligent. See ER-23.

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ER-57–58.

       Downing acknowledged receipt of the disclosure and authorized Lowe’s to

obtain his background report. ER-33. Lowe’s then obtained Downing’s background

report from First Advantage, a consumer-reporting agency. ER-31, 35. The report

showed that Downing had pled guilty to three criminal offenses, although in his

separate claims against First Advantage, Downing alleges that those convictions

were set aside. ER-35–36.

III.   This Lawsuit

       Around six months after Downing was denied employment with Lowe’s,

Downing brought a putative class action lawsuit against Lowe’s and First Advantage

in the District of Arizona. As relevant here, Downing sued Lowe’s for allegedly

providing a disclosure that violated the FCRA’s standalone requirement (Count I)

and clear-and-conspicuous requirement (Count II).       Lowe’s moved to dismiss

Downing’s claims under Federal Rule of Civil Procedure 12(b)(6).

       The district court granted the motion. The district court first held that the

disclosure does not violate the FCRA’s standalone requirement. ER-20. Applying

this Court’s decision in Walker, 953 F.3d 1082, to the four sentences in Lowe’s

disclosure, the district court held that each sentence included only permissible

information. See ER-15–20. For example, the district court held that the fourth

sentence “explains that certain credit-related information will only be obtained if a



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separate authorization is signed,” and is thus “part of the Disclosure’s ‘concise

explanation’ of what it means for Lowe’s to obtain a consumer report,” as well as

“what a ‘consumer report’ entails” and “how it will be ‘obtained.’” ER-19 (quoting

Walker, 953 F.3d at 1084). Additionally, the district court held that the disclosure’s

statement that Lowe’s is seeking information regarding the reader or the reader’s

“child/ward” is not a “joint disclosure for multiple people,” but instead, “merely

informs the applicant of whose information might be obtained as part of the

background report, which falls squarely within the scope of ‘describing what a

“‘consumer report’ entails.’” ER-20 (brackets omitted) (quoting Walker, 953 F.3d

at 1084).

      As for Count II, the district court held that the disclosure did not violate the

FCRA’s clear and conspicuous requirement because it “was reasonably

understandable and therefore sufficiently clear for purposes of the FCRA,” and

“does not ‘contain [any] language that a reasonable person would not understand.’”

ER-21 (quoting Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d 1169, 1177

(9th Cir. 2019)). In response to Downing’s argument that the phrase “you or your

child/ward” is inherently unclear, the district court held that the language is “not

confusing; rather, the [phrase] simply disclose[s] to the reader that Lowe’s may

obtain information about their child.” ER-22. The court then went on to note in the

alternative that “[e]ven assuming . . . ambiguity exists” in the phrase “you or your



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child/ward,” it would not render the disclosure as a whole “confusing, misleading,

or otherwise unclear as a result.” ER-22. This is because “[w]hether the report

concerns ‘the applicant, their children/wards, or both’ is of no matter to the FCRA

disclosure requirement. Rather, the Act requires only ‘a clear and conspicuous

disclosure . . . that a consumer report may be obtained for employment purposes.’”

ER-22 (quoting 15 U.S.C. § 1681b(b)(2)(A)(i)). Additionally, the court found that

the disclosure’s final sentence was “more than reasonably understandable” in

explaining that Lowe’s “will not request any information bearing on” an applicant’s

credit “without obtaining separate authorization.” ER-23.

      Downing sought and received certification of a final judgment on his claims

against Lowe’s under Federal Rule of Civil Procedure 54(b). This appeal followed.

                              Summary Of Argument

      I.A. Lowe’s disclosure complies with the FCRA’s standalone requirement as

interpreted by this Court in Walker. The disclosure is short and to the point,

containing just four sentences. Each sentence either informs the reader that Lowe’s

will request a job applicant’s background report or explains what that means. The

first sentence informs the reader that Lowe’s may obtain a background report about

an applicant for employment purposes (whether the applicant is the reader himself,

as in Downing’s case, or the reader’s child or ward, as in the case of a minor applying

for a job at Lowe’s). The second sentence provides the definition of the term



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“background report,” using the same language as the FCRA itself. The third

sentence lists the specific categories of information that might be included in the

background report the reader is authorizing Lowe’s to obtain. Finally, the fourth

sentence explains that Lowe’s will not obtain information relating to the applicant’s

credit history without further authorization. This language is entirely consistent with

the FCRA’s “standalone” requirement, as the district court correctly held.

      Downing’s argument that Lowe’s disclosure contains extraneous language

fails. Under Walker, an employer is not required to include only a “plain statement

disclosing that a consumer report may be obtained for employment purposes.” 953

F.3d at 1084 (quotation marks omitted). The disclosure may also include “some

concise explanation of what [the] phrase [‘consumer report’] means,” including

“what type of information may be included in the ‘consumer report.’” Id. at 1088–

89. That is precisely what Lowe’s did here.

      I.B. Downing is also mistaken in arguing that Lowe’s disclosure somehow

violates the FCRA’s “clear and conspicuous” requirement through its use of the

phrase “you or your child/ward.” The phrase is simply designed to encompass

situations in which a parent of a minor applicant is reviewing the disclosure.

Straining against the text, Downing argues that the disclosure perhaps allows Lowe’s

to obtain multiple background reports, reports regarding job applicants’ children and

wards, and reports unrelated to an employment purpose. But read in context, the



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text of the disclosure disproves each of these assertions. For example, the disclosure

repeatedly refers to a single background report, notes that the report will be about

the reader “or” the reader’s child or ward, does not refer to reports regarding multiple

“children” or “wards,” and explains that the report is “for employment purposes.”

      Downing’s argument that Lowe’s disclosure is unclear about whether Lowe’s

intends to obtain information regarding an applicant’s credit history is similarly

meritless. The disclosure clearly informs the reader that: (1) Lowe’s may obtain his

background report; (2) background reports can include various categories of

information; (3) the report Lowe’s seeks will include some specific categories of

information; but (4) the report will not contain information relating to credit history.

There is no basis to conclude that the disclosure is anything but clear.

      II. In any event, Downing lacks standing to raise these challenges on appeal.

In obtaining Downing’s background report, without his credit information, Lowe’s

did precisely what it said it would do in the disclosure, and Downing does not allege

otherwise. He does not allege, for example, that Lowe’s obtained any information

regarding his credit history or any information about his children. Nor does he allege

any facts explaining how or why a redlined version of Lowe’s disclosure would have

changed his decision as to whether to authorize the background report. Thus, he

fails to plausibly allege any cognizable injury sufficient to pursue his claims against

Lowe’s.



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      III. Downing’s claims independently fail because he cannot plausibly allege

that Lowe’s willfully violated the FCRA, as required for his claim for statutory

damages. To establish willfulness, a plaintiff must plausibly allege “not only that

the defendant’s interpretation” of its legal obligations “was objectively

unreasonable, but also that the defendant ran a risk of violating the statute that was

substantially greater than the risk associated with a reading that was merely

careless.” Marino v. Ocwen Loan Servicing LLC, 978 F.3d 669, 673 (9th Cir. 2020).

Willfulness is an intentionally high bar, akin to the standard for finding liability in

the context of qualified immunity. See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47,

70 (2007) (citing Saucier v. Katz, 533 U.S. 194, 202 (2001)). Downing cannot come

close to making that showing here, even assuming he were correct that Lowe’s

disclosure violated the FCRA.

                                Standard Of Review

      This Court “review[s] de novo the grant of a Rule 12(b)(6) motion to dismiss

for failure to state a claim.” Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1086 (9th

Cir. 2020). “In so doing,” this Court “accept[s] all well-pleaded factual allegations

in the complaint as true and construe[s] the pleadings in the light most favorable to

the plaintiff.” Id. “In determining whether the complaint’s allegations state a claim

for relief,” this Court “review[s] de novo the district court’s construction of the

FCRA, because the interpretation of a statute is a question of law.” Id.



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                                     Argument

      Downing’s claims on appeal fail for at least three reasons: First, the disclosure

at issue does not violate the FCRA because it stands alone and is clear and

conspicuous.    Second, Downing has not plausibly alleged a concrete and

particularized injury resulting from the alleged deficiencies in Lowe’s disclosure,

and thus, he lacks standing. Third, even if Downing could somehow show a

violation and standing, he cannot plausibly allege that Lowe’s willfully violated the

FCRA because Lowe’s interpretation of the FCRA’s requirements was not reckless

in light of the text of the statute, existing precedent from this Court, and relevant

guidance from the FTC. For any or all of these reasons, this Court should affirm the

district court’s order granting Lowe’s motion to dismiss.

I.    The Disclosure Complies With The FCRA.

      Before a prospective employer may obtain a job applicant’s consumer report,

the FCRA requires the employer to provide a “clear and conspicuous disclosure . . .

in a document that consists solely of the disclosure, that a consumer report may be

obtained for employment purposes.” 15 U.S.C. § 1681b(b)(2)(A)(i) (emphases

added). As the district court correctly held, Lowe’s disclosure fulfilled these

requirements, and Downing’s arguments to the contrary fail.




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      A.     The District Court Correctly Concluded That The Disclosure
             Stands Alone And Downing’s Arguments To The Contrary Lack
             Merit.

      The FCRA’s requirement that an employer provide a “disclosure . . . in a

document that consists solely of the disclosure,” 15 U.S.C. § 1681b(b)(2)(A)(i), is

known as the “standalone requirement.” Walker v. Fred Meyer, Inc., 953 F.3d 1082,

1087 (9th Cir. 2020). This Court has made clear, as the district court recognized,

that a standalone disclosure may go beyond “a plain statement disclosing that a

consumer report may be obtained for employment purposes.” Id. at 1088 (quotation

marks omitted). The disclosure may also include “some concise explanation of what

[the] phrase [‘consumer report’] means.” Id. “For example, a company could briefly

describe what a ‘consumer report’ entails, how it will be ‘obtained,’ and for which

type of ‘employment purposes’ it may be used” without offending the FCRA’s

requirements. Id. at 1088–89 (footnote omitted); see also FTC, Advisory Opinion

to Coffey, 1998 WL 34323748, at *2 (Feb. 11, 1998) (“[S]ome additional

information, such as a brief description of the nature of the consumer reports covered

by the disclosure, may be included if the information does not confuse the consumer

or detract from the mandated disclosure.”).

      Here, Lowe’s presented Downing with a disclosure that contained four

sentences—all of which convey their intended meaning to a reasonable consumer,

and none of which is extraneous.



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      1. The first sentence informs the reader that Lowe’s may obtain a background

report about the reader or their child or ward for employment purposes:

      Lowe’s Companies, Inc. and/or its affiliates, including Lowe’s Home
      Centers, LLC, (“Lowe’s”) may obtain a “background report” about you
      or your child/ward for employment purposes from a third-party
      consumer reporting agency.

ER-57. This sentence constitutes a “plain statement disclosing that a consumer

report may be obtained for employment purposes,” which fits well within the

FCRA’s requirements. Walker, 953 F.3d at 1084 (quotation marks omitted).

      2. The second sentence, quoting directly from the FCRA, defines the term

“background report”:

      “Background report” means any written, oral, or other communication
      of any information by a consumer reporting agency bearing on your or
      your child’s/ward’s credit worthiness, credit standing, credit capacity,
      character, general reputation, personal characteristics, or mode of
      living.

ER-57; see also 15 U.S.C. § 1681a(d)(1). Like the first sentence, this sentence “does

not run afoul of the standalone requirement” because it “provid[es] a very brief

description of what [‘background report’] means.” Walker, 953 F.3d at 1090.

      3. The third sentence lists the categories of information that could be included

in the background report that Lowe’s will obtain:

      The reports may include information regarding your or your
      child’s/ward’s history, criminal history, social security verification,
      motor vehicle records, verification of your education or employment
      history, or other background check results.



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ER-57. This sentence informs the reader of “what private and public information

about the applicant will be examined to create a ‘[background] report.’” Walker,

953 F.3d at 1090. Thus, it also does not violate the FCRA’s standalone requirement.

Id.

        4. Finally, the fourth sentence informs the reader that Lowe’s will not obtain

information relating to the applicant’s credit without further authorization:

        Lowe’s will not request any information related to your or your
        child’s/ward’s worthiness, credit standing, or credit capacity without
        providing you or your child/ward, separately, with information related
        to the use of that information and obtaining separate authorization from
        you to obtain such information, where required.

ER-58. This sentence again makes clear “what private and public information about

the applicant will be examined to create a ‘[background] report’” by letting the

reader know that Lowe’s will not seek the applicant’s credit information, even

though the broad definition of a background report includes credit information.

Walker, 953 F.3d at 1090; see 15 U.S.C. § 1681a(d)(1). “As a result, this language

also does not violate the FCRA’s [standalone] requirement.” Walker, 953 F.3d at

1090.

        Downing’s attempts to manufacture a violation of the standalone requirement

based on Lowe’s four-sentence disclosure all fail.

        First, Downing argues that the final (fourth) sentence of the disclosure, which

explains that Lowe’s will not seek an applicant’s credit information without



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additional authorization, is extraneous and distracts from the disclosure.       See

Downing Br. at 23–28. However, this sentence is part of the disclosure itself because

it informs the reader what the background report will “entail[].” Walker, 953 F.3d

at 1084. And explaining precisely what a consumer is and is not authorizing is

crucial to protecting consumers’ rights to privacy and information under the FCRA.

See Syed v. M-I, LLC, 853 F.3d 492, 497–99 (9th Cir. 2017).

      Downing next cites to three of this Court’s cases for the proposition that

“extraneous information . . . that ‘pulls the applicant’s attention away’ from the

Disclosure itself . . . violate[s] the standalone requirement.” Downing Br. at 26

(quoting Syed, 853 F.3d at 502, and citing Gilberg v. Cal. Check Cashing Stores,

LLC, 913 F.3d 1169, 1175 (9th Cir. 2019); Walker, 953 F.3d at 1090). But none of

the three cases that Downing cites supports his argument, and one actively

undermines it. Syed dealt with a disclosure that included a liability waiver, which

plainly goes beyond a statement that a consumer report will be obtained and an

explanation of what that entails. 853 F.3d at 500–03. Gilberg dealt with a disclosure

that included a long list of applicants’ rights under various states’ laws, which

similarly went beyond stating that a consumer report will be obtained and explaining

what that means. See 913 F.3d at 1175–76.

      And far from supporting Downing’s argument, this Court’s decision in Walker

only underscores the permissibility of Lowe’s disclosure. In Walker, this Court



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assessed multiple challenges to an employer’s disclosure, and held that only one

aspect of the disclosure—information concerning an applicant’s right to inspect

files—was extraneous and violated the standalone requirement. 953 F.3d at 1090–

91. The rest of the challenged language—including the disclosure’s explanation of

“what type of information may be included in the ‘consumer report’”—was

permissible, this Court found, because it was part of the disclosure itself. The same

was true for language regarding how the employer would obtain the reports from a

consumer reporting agency and what kinds of information the consumer reporting

agency would investigate, including “education, work history,” and “criminal

record.” Because this language “elucidate[s] what it means to ‘obtain’ a consumer

report,” this Court in Walker found that its inclusion in the disclosure did not violate

the FCRA’s standalone requirement. Id. at 1090.

      So, too, here. By explaining to applicants that Lowe’s will not seek their

credit information without separate authorization, Lowe’s “helpfully explains . . .

what type of information may be included in the ‘consumer report,’” and

“elucidate[s] what it means to ‘obtain’ a consumer report.” Walker, 953 F.3d at

1089–90. This sentence helps applicants understand the scope of the authorization

they are providing, which safeguards the privacy rights protected by the FCRA.

      Downing also argues that the “child/ward” language in Lowe’s disclosure

violates the standalone requirement. See Downing Br. at 23–25. He says that the



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disclosure’s use of the phrase “you or your child/ward” somehow makes this a “joint

disclosure for multiple people,” which, he says, would violate the standalone

requirement. Downing Br. at 24. The argument is difficult to follow, but Downing

appears to mean that if the disclosure could be read as authorizing Lowe’s to obtain

background reports regarding applicants and their children, then the disclosure

becomes multiple FCRA disclosures in one document, rather than a single disclosure

for each consumer, and would therefore violate the standalone requirement.

      But this argument reflects no more than a repackaging of Downing’s argument

that the disclosure violates the “clear and conspicuous” requirement, and fails for

similar reasons. See infra at 22–28; see also Walker, 953 F.3d at 1089 n.10

(“Walker’s arguments that the disclosure statement’s language confusingly ‘blurs

the line between consumer reports and investigative reports’ such that the reader

cannot understand what information will be obtained about him . . . are better

directed to the clear and conspicuous requirement.”). In any event, Downing fails

to cite a single case holding that if a plaintiff or his lawyers can misread a disclosure

to cover background reports for more than one person, then the disclosure violates

the standalone requirement.

      And Downing’s argument is also at odds with the plain language of the

disclosure. The disclosure does not state that Lowe’s is seeking background reports

(plural)—it states that Lowe’s is seeking “a ‘background report.’” ER-57 (emphases



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added). The disclosure does not state that Lowe’s is seeking information regarding

“you and your children/wards”—it states that Lowe’s is seeking information

regarding “you or your child/ward.” ER-57 (emphases added). Thus, even if

Downing were right that a single disclosure cannot cover multiple background

reports for multiple individuals without running afoul of the standalone requirement,

that issue would not be presented by this case, since Lowe’s disclosure pertains to

only one report for either the reader or the child/ward on whose behalf the reader is

reviewing the disclosure.

      Downing thus fails to identify any extraneous information in Lowe’s four-

sentence disclosure. As the district court correctly held, each sentence in the

disclosure falls squarely within this Court’s holding in Walker regarding what is

permissible in a FCRA disclosure. See ER-15–20. Lowe’s disclosure thus satisfies

the FCRA’s standalone requirement.

      B.     Downing’s Arguments That The Disclosure Violates The FCRA’s
             Clear And Conspicuous Requirement Similarly Fail.

      Downing’s arguments that Lowe’s disclosure violates the FCRA’s clear and

conspicuous requirement fare no better than his arguments that the disclosure

violates the FCRA’s standalone requirement.

      A disclosure is “clear and conspicuous” if it is in a “‘reasonably

understandable form’ that is ‘readily noticeable to the consumer.’” Luna v. Hansen

& Adkins Auto Transp., Inc., 956 F.3d 1151, 1153 (9th Cir. 2020) (quoting Gilberg,


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913 F.3d at 1176). The test for whether a disclosure is “reasonably understandable”

is an objective one, based on whether a “reasonable person” would understand the

disclosure. Gilberg, 913 F.3d at 1177. Notably, the test is not whether a particular

plaintiff alleges he was confused, or whether the plaintiff and his counsel can come

up with creative arguments for alternative readings of the disclosure. As in other

contexts, language is “not ambiguous merely because the parties disagree on its

interpretation.” Pac. Gas & Elec. Co. v. FERC, 746 F.2d 1383, 1387 (9th Cir. 1984).

      In an attempt to sew confusion and ambiguity into the clear language of the

disclosure, Downing proffers alternative readings that he says would render the

disclsoure confusing. For example, he insists that language in the disclosure could

be read as permitting Lowe’s to obtain background reports regarding “all applicants’

children/wards regardless of the information’s relevance to the employment

purpose.” Downing Br. at 18 n.2; see also, e.g., id. at 2 (the disclosure “could be

intended to permit Lowe’s to obtain reports regarding applicants and their

children/ward[s]”).

      But that is not what the disclosure says. See Flores v. Am. Seafoods Co., 335

F.3d 904, 910 (9th Cir. 2003) (“Contract terms are to be given their ordinary

meaning” (quotation marks omitted)). The disclosure never suggests that Lowe’s

seeks information regarding applicants and their children, nor does it suggest that it

will obtain information that has nothing to do with an employment purpose. Instead,



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the disclosure informs the reader that Lowe’s seeks a single background report and

that the report might relate to information about the reader or the reader’s

child/ward—depending on who is applying for employment. See ER-57 (“[Lowe’s]

may obtain a ‘background report’ about you or your child/ward for employment

purposes from a third-party consumer reporting agency.” (emphases added)).

       The meaning of the phrase “you or your child/ward” is clear from the context

in which it is used. For example, the disclosure clearly states that Lowe’s may obtain

“a ‘background report’” for employment purposes. ER-57 (emphasis added). In

plain English, the phrase “a background report” means a single background report.4

Similarly, the disclosure states that the background report will be “about you or your

child/ward,” ER-57 (emphasis added), not “you and your child/ward,” as Downing

seeks to read it.    Finally, despite Downing’s repeated references to multiple

“children” and “wards” in his brief, the disclosure again refers to a single

individual—one “child/ward”—not multiple “children/wards.” Downing Br. at 2,



4   The third sentence uses the word “reports” to describe the different categories of
    information that might be included in the singular “background report” Lowe’s
    may obtain. See ER-57 (“The reports may include information regarding your or
    your child’s/ward’s history, criminal history, social security verification, motor
    vehicle records, verification of your education or employment history, or other
    background check results.”). As used in this context, it is clear that Lowe’s is
    referring to various inputs to the ultimate “background report” regarding an
    applicant’s education or employment history, criminal history, Social Security
    Number verification, and so on—not multiple reports regarding multiple
    individuals.

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11, 16, 18 n.2. Because Lowe’s seeks to obtain a single background report, and

because the disclosure states that that report will be about either the reader or the

reader’s child/ward, no reasonable reader could conclude that Lowe’s is seeking

background reports about the reader and the reader’s children/wards.

      Downing is also incorrect that the disclosure would allow Lowe’s to obtain

information that is unrelated to any employment purpose. To the contrary, the

disclosure clearly states that it is seeking background information “for employment

purposes.” ER-57. This phrase also eliminates any shred of ambiguity as to whose

information Lowe’s seeks—a reasonable reader would understand that Lowe’s is

seeking information regarding a job applicant, because the job applicant is the person

whose background information is relevant to Lowe’s employment purpose.

      None of the cases that Downing cites supports a contrary conclusion. For

example, Downing cites Gilberg for the unremarkable proposition that a disclosure

is unclear when it “contain[s] language that a reasonable person would not

understand.” Downing Br. at 15 (quoting 913 F.3d at 1177). In Gilberg, unlike here,

the disclosure was unclear because it included a grammatically incoherent partial

sentence without a subject, and also had confusing statements about state law. 913

F.3d at 1177. The grammatical problems made it difficult to discern any meaning

from the federal disclosure in the first place, and the state disclosures gave a false

impression about the rights of applicants in states that were not listed. Id. Neither



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of these reasons applies here—Lowe’s disclosure includes no grammatical errors (let

alone an error so egregious as to render the disclosure unclear) or any information

regarding state law.

       Rubio v. Capital One Bank is similarly inapposite. See 613 F.3d 1195 (9th

Cir. 2010). Rubio dealt with the “clear[] and conspicuous[]” requirement in the

Truth in Lending Act (TILA). Id. at 1203.5 There, a creditor sent the plaintiff an

advertisement for a credit card with a “fixed” APR, but also stated in a separate

agreement that the creditor could (as it ultimately did) raise the APR at its discretion.

Id. at 1197–98. Unsurprisingly, this Court held that the solicitation was not “clear

and conspicuous” as to the meaning of the “fixed” APR it advertised. Id. at 1200–

02. Here, by contrast, Downing does not allege that Lowe’s took any action

inconsistent with the plain language of the disclosure—for example, he does not

plausibly allege that the disclosure misstated the conditions under which Lowe’s

would obtain his background report.

       For these reasons, the language in the disclosure is not susceptible to the

alternative reading Downing proposes—that Lowe’s seeks to obtain multiple



5   This Court has adopted the TILA “clear and conspicuous” analysis from Rubio
    in analyzing the clarity of a disclosure in the FCRA context. See Gilberg, 913
    F.3d at 1176. But this Court has never held that the two statutes must be applied
    identically for all purposes. See id. at 1177 (assuming without deciding that
    clarity and conspicuousness are questions of law in the FCRA context, as in the
    TILA context).

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background reports regarding applicants and their children. To the contrary, the

plain language of the disclosure and common sense foreclose such a reading. Thus,

Downing’s claim that the “child/ward” language in the disclosure is unclear fails.

      The district court agreed with Lowe’s that the disclosure was clear, noting that

“the references” to the reader’s “child/ward” “simply disclose to the reader that

Lowe’s may obtain information about their child.” ER-22. The district court then

went on to explain that, even if Downing’s strained alternative reading were correct,

and Lowe’s sought background information about applicants and their children, that

would still not render the “entire [d]isclosure . . . confusing, misleading, or otherwise

unclear as a result.” ER-22. That is because it “is of no matter to the FCRA

disclosure requirement” whose information Lowe’s seeks to obtain.                ER-22.

“Rather, the Act requires only ‘a clear and conspicuous disclosure . . . that a

consumer report may be obtained for employment purposes.’” ER-22 (quoting 15

U.S.C. § 1681b(b)(2)(A)(i)).

      Downing repeatedly suggests that the district court read the disclosure

differently than Lowe’s. See, e.g., Downing Br. at 18. That is false. The passage

of the district court’s opinion that Downing relies on states the court’s alternative

explanation that Downing’s claim fails even under his flawed reading of the

disclosure. See ER-22 (“Even assuming such ambiguity exists, however, the Court




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cannot find that the entire Disclosure is rendered confusing, misleading, or otherwise

unclear as a result.”).

      That additional and alternative reason for rejecting Downing’s claim was

plainly correct. Language is not ambiguous simply because it applies more broadly

than necessary to accomplish its purpose.           In the context of contractual

interpretation, “[a] contractual term is not ambiguous just because it is broad.”

F.B.T. Prods., LLC v. Aftermath Records, 621 F.3d 958, 964 (9th Cir. 2010) (“Th[e]

provision is admittedly broad, but it is not unclear or ambiguous.”). The same is true

for statutes. Arizona v. Tohono O’odham Nation, 818 F.3d 549, 557 (9th Cir. 2016)

(“[A] word or phrase is not ambiguous just because it has a broad general meaning”

(citing Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 212 (1998))). And the same is

true of broad regulations, which “may be applied to a particular factual scenario not

expressly anticipated at the time the regulation was promulgated.” Or. Paralyzed

Veterans of Am. v. Regal Cinemas, Inc., 339 F.3d 1126, 1133 (9th Cir. 2003).

      Downing also argues that if this Court affirms, then prospective employers

will be able to obtain the background reports of applicants’ children “despite the

[FCRA’s] express prohibition against procuring such reports.” Downing Br. at 18.

      That is incorrect. The FCRA’s clarity requirement has nothing to do with the

substantive question of whether the FCRA allows a company to seek background

reports involving applicants’ children or wards (or whether employers can seek



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parental consent for background reports when the applicant is a minor). It simply

requires clarity, regardless of whether the practice being disclosed is substantively

permissible. If, as Downing posits, an employer violates the FCRA by obtaining a

background report concerning an applicant’s children, then the applicant or the

children could presumably bring a FCRA claim alleging that hypothetical violation.

But Downing does not bring any such claim here. And he fails entirely to explain

how the purported overbreadth of an employer’s background reports could violate

the FCRA’s clear and conspicuous requirement.

      Next, Downing argues that the disclosure is “confusing as to the nature of the

report being procured,” Downing Br. at 19, because the second sentence’s definition

of “background report” references “credit,” but the fourth sentence states that

Lowe’s will not seek credit information without additional authorization. This

argument is itself confusing and difficult to follow.

      The second sentence in Lowe’s disclosure comes directly from the FCRA’s

definition of a “consumer report”:

        15 U.S.C. § 1681a(d)(1)                         Disclosure (ER-58)
                                             any     written,    oral,   or    other
 any     written,     oral,    or    other
                                             communication of any information by a
 communication of any information by a
                                             consumer reporting agency bearing on
 consumer reporting agency bearing on a
                                             your or your child’s/ward’s credit
 consumer’s credit worthiness, credit
                                             worthiness, credit standing, credit
 standing, credit capacity, character,
                                             capacity, character, general reputation,
 general        reputation,       personal
                                             personal characteristics, or mode of
 characteristics, or mode of living
                                             living


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      It informs the reader of what information might be included in a standard

consumer report. The fourth sentence informs the reader that Lowe’s will not

request credit information at this time. Thus, the disclosure helps the reader

understand what information he is and is not authorizing Lowe’s to obtain. See

Walker, 953 F.3d at 1089 (consistent with the FCRA’s requirements, a disclosure

may “helpfully explain[]” “what type of information may be included in the

‘consumer report’”). It is unclear why Downing thinks this helpful explanation

would confuse an applicant.

      Finally, Downing makes a throwaway argument that the word “worthiness”

in the fourth sentence is somehow unclear. See Downing Br. at 19 (“It is unclear

whether ‘worthiness’ encompasses some or all the information noted in the first

paragraph or perhaps another nebulous category of information that Lowe’s may

review.”). This is yet another attempt to manufacture ambiguity in a clear disclosure.

Reasonable readers do not read individual words in isolation, as Downing and his

counsel do here. See, e.g., King v. Burwell, 576 U.S. 473, 486 (2015) (explaining in

the context of statutory construction that “meaning—or ambiguity—of certain words

or phrases may only become evident when placed in context” (quotation marks

omitted)).

      Here, in the context of the fourth sentence of Lowe’s disclosure, it is obvious

that “worthiness” refers to “credit worthiness.” The term is used in a sentence that

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relates solely to information regarding the applicant’s credit, and informs the reader

that Lowe’s will not seek such credit information in this background report. See ER-

58 (“Lowe’s will not request any information related to your or your child’s/ward’s

worthiness, credit standing, or credit capacity without providing you or your

child/ward, separately, with information related to the use of that information and

obtaining separate authorization from you to obtain such information, where

required.”). As with Downing’s argument regarding the disclosure’s use of the

phrase “you or your child/ward,” Downing’s attempts to create ambiguity by

isolating and misreading individual words and phrases fail when accounting for

context.

                                     *     *     *

      Read together, the disclosure’s four sentences clearly explain to the reader

that: (1) Lowe’s may obtain a background report regarding the job applicant

(whether the applicant is the reader or the reader’s child/ward); (2) background

reports can include several categories of information; (3) the background report that

Lowe’s will obtain will contain some of those categories of information; and (4) the

background report will not include information relating to the applicant’s credit.

None of this information is extraneous, and, as the district court held, all of it falls

squarely within this Court’s holding in Walker regarding what is permissible in a

FCRA disclosure. See ER-15–20. Further, as the district court held, the disclosure’s



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meaning is clear. “A reasonable, prospective employee is provided full notice of

what Lowe’s intends to do as it relates to the background report, and such employee

is able to make an informed decision as to whether he or she wishes to authorize the

action.” ER-22. Thus, the disclosure satisfies the FCRA’s standalone and clear and

conspicuous requirements.

II.      Downing Lacks Standing To Challenge Any Of The Alleged Deficiencies
         He Raises On Appeal.6

         As explained above, the disclosure is clear and it stands alone. But even if it

were not, Downing lacks standing to allege the violations he asserts in this appeal.

         A plaintiff cannot “allege a bare procedural violation, divorced from any

concrete harm, and satisfy the injury-in-fact requirement of Article III.” Spokeo,

Inc. v. Robins, 578 U.S. 330, 341 (2016). “[A] plaintiff seeking damages for the

violation of a statutory right must not only plausibly allege the violation but must

also plausibly allege a ‘concrete’ injury causally connected to the violation.” Dutta

v. State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1172 (9th Cir. 2018). Moreover,

a plaintiff must allege that he “personally ha[s] been injured, not that injury has been




6     Article III standing “must be demonstrated at the successive stages of the
      litigation,” including on appeal, “and if the court determines at any time that it
      lacks subject-matter jurisdiction, the court must dismiss the action.” Chapman
      v. Pier 1 Imps. (U.S.) Inc., 631 F.3d 939, 954 (9th Cir. 2011) (en banc) (cleaned
      up). Of course, “[t]he existence of Article III standing is not subject to waiver,”
      and can be raised at any time—including by this Court sua sponte. Id.

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suffered by other, unidentified members of the class to which [he] belong[s].”

Spokeo, 578 U.S. at 338 n.6.

       Here, without any alleged fact connecting his asserted FCRA violations (e.g.,

the “child/ward” language and the language related to credit information) to an

injury Downing himself allegedly suffered, his arguments fail for lack of Article III

standing. Downing does not argue that he was somehow confused as to whether

Lowe’s would obtain his background report or what information that report would

include.7 Rather, he argues that the disclosure was confusing as to whether Lowe’s

would obtain information regarding applicants’ children and information regarding

applicants’ credit. He fails entirely to explain how these alleged violations harmed

him. He does not allege, for example, that he was somehow harmed when Lowe’s

did not obtain his credit information. Nor does he allege that he has a child or ward

whose information might have been at risk under his strained reading of the

disclosure to include consumer reports about an applicant’s children or wards.

       Instead, parroting this Court’s finding of an injury in Syed, Downing alleges

that he was “confused by the disclosure,” and that had he been presented with a

“lawful” disclosure, he would not have signed it. ER-31, 34–35, 41, 44. This

conclusory assertion is entitled to no weight at the motion-to-dismiss stage. Ashcroft



7   Nor could he plausibly make such an allegation in light of his experience with
    the FCRA. See supra at 3 n.2.

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v. Iqbal, 556 U.S. 662, 678 (2009). And the assertion makes no sense as applied to

the alleged violations that Downing raises on appeal, since he has failed to explain

why he signed Lowe’s disclosure, but would have refused to sign a supposedly

“lawful” one consistent with the line edits he argues Lowe’s should have made.

III.   Downing Does Not Plausibly Allege That Any Alleged FCRA Violation
       Was Willful.

       Even if Downing had plausibly alleged a FCRA violation or an Article III

injury (which he did not), this Court should affirm on the alternative ground—not

reached by the district court—that he did not and cannot plausibly allege that Lowe’s

willfully violated the FCRA. Johnson v. Riverside Healthcare Sys., LP, 534 F.3d

1116, 1121 (9th Cir. 2008) (this Court “may affirm based on any ground supported

by the record”).

       “Under the FCRA, only negligent or willful violations are actionable.”

Marino v. Ocwen Loan Servicing LLC, 978 F.3d 669, 671 (9th Cir. 2020); 15 U.S.C.

§ 1681n. On appeal, Downing has declined to pursue his negligence claim (which

would require him to plausibly allege actual damages), and instead, argues only that

Lowe’s willfully violated the FCRA. Thus, this Court faces only the question of




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whether Lowe’s committed any purported FCRA violation willfully, and the clear

answer is “no.”8

       A willful violation of the FCRA occurs when a defendant acts in “reckless

disregard of the law.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 59 (2007).

“[R]ecklessness requires ‘a known or obvious risk that was so great as to make it

highly probable that harm would follow.’” Id. at 69. This is an intentionally high

bar—“[t]o prove a willful violation, a plaintiff must show not only that the

defendant’s interpretation was objectively unreasonable, but also that the defendant

ran a risk of violating the statute that was substantially greater than the risk

associated with a reading that was merely careless.” Marino, 978 F.3d at 673.

       “Under either the negligence or willfulness standard, when the applicable

language of the FCRA is ‘less than pellucid,’ . . . a defendant will nearly always

avoid liability so long as an appellate court has not already interpreted that language”

to prohibit the defendant’s conduct. Marino, 978 F.3d at 673–74 (quoting Safeco,




8   Downing cannot resuscitate his negligence argument on reply. EEOC v. Peabody
    W. Coal Co., 773 F.3d 977, 990 (9th Cir. 2014) (“[W]e do not consider claims
    that are not specifically and distinctly argued in the opening brief.” (quotation
    marks omitted)). But even if he could, the argument would fail because
    (1) Downing cannot plausibly allege that Lowe’s negligently violated the FCRA
    for the same reasons he cannot plausibly allege a willful violation; and (2) the
    Complaint lacks any factual allegations that could support a claim for actual
    damages. See 15 U.S.C. § 1681o(a)(1) (requiring actual damages for a claim for
    negligent noncompliance with the FCRA).

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551 U.S. at 70). The standard is akin to the standard for holding a defendant liable

in the context of qualified immunity, where the inquiry is “whether an action was

reasonable in light of legal rules that were ‘clearly established’ at the time.” Safeco,

551 U.S. at 70 (citing Saucier v. Katz, 533 U.S. 194, 202 (2001)).

      Here, Downing cannot come close to plausibly alleging that Lowe’s willfully

violated the FCRA. The text of the FCRA is silent as to whether a prospective

employer may include language in its disclosure informing the reader that the

employer: (1) might obtain his or his child’s/ward’s information for employment

purposes; and (2) will not seek his or his child’s/ward’s credit information without

separate authorization. See, e.g., Walker, 953 F.3d at 1088 (noting that the FCRA

“does not further define the term ‘disclosure’ or explain what information can be

considered part of that ‘disclosure’”). Thus, even assuming that Downing could

show a violation (and he cannot), the statutory text is “less than pellucid” on the

challenges Downing raises. Safeco, 551 U.S. at 70.

      Downing is incorrect that “judicial and administrative guidance” make clear

that the language in Lowe’s disclosure is unlawful. Downing Br. at 29–30. He

notably fails to cite any case, and Lowe’s is not aware of one, holding that the

language in Lowe’s disclosure, or any similar language, violates the FCRA. Instead,

Downing relies on the bare fact that the statute requires clear and standalone

disclosures and that some courts have held that entirely different language violates



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those requirements. He cites Syed and Gilberg for the proposition that any violation

of the FCRA’s standalone requirement is necessarily willful, because “the

standalone requirement, as is at issue in the present case, is not subject to a range of

plausible interpretations.” Downing Br. at 29 (quotation marks omitted).

      That is plainly incorrect. The existence of the standalone rule is not in dispute,

but what exactly violates the rule is open to debate.           Thus, not everything

subsequently deemed unlawful is automatically a willful violation. Although the

court in Gilberg quoted Syed in holding that an employer violates the FCRA’s

standalone requirement by including information about state law in a disclosure, the

Gilberg court never even mentioned willfulness or decided whether the violation in

that case was willful. See 913 F.3d at 1171.

      Nor did Syed hold that every violation of the FCRA’s standalone requirement

is willful. Rather, the court determined the defendant acted willfully because the

violation at issue there—the inclusion of a liability waiver in the disclosure—was so

extreme and obvious that it constituted a “reckless disregard of” the defendant’s

“statutory duty” even in the absence of judicial and administrative guidance. 853

F.3d at 503–06. That was because the liability waiver fundamentally undermined

the reader’s ability to understand what he was agreeing to. See id. at 502 (“[A] job

applicant could reasonably conclude that his signature was not consent to the




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procurement of the consumer report, but to a broad release of the employer from

claims[.]”).

      That is far from the case here. As the district court recognized, the closest

analogous precedent—Walker—favors Lowe’s and confirms that there was no

violation at all. Indeed, in Safeco, on similar facts, the Supreme Court held that the

defendant could hardly be said to have willfully violated the FCRA, where, as here,

its position had a “sufficiently convincing justification to have persuaded the District

Court to adopt it and rule in [the defendant’s] favor.” 551 U.S. at 70.

      Downing is similarly incorrect that relevant administrative guidance

condemns the language in Lowe’s disclosure. See Downing Br. at 29–30. He

conspicuously fails to cite any administrative guidance to support that assertion, and

for good reason. The only conceivably relevant guidance from the Federal Trade

Commission cuts in Lowe’s favor, and certainly does not inform a reasonable

employer that language similar to what Lowe’s used is an obvious statutory

violation. See FTC, Advisory Opinion to Coffey, 1998 WL 34323748, at *2

(“[S]ome additional information, such as a brief description of the nature of the

consumer reports covered by the disclosure, may be included if the information does

not confuse the consumer or detract from the mandated disclosure.”).

      Citing a lone, unpublished opinion from a district court in Pennsylvania,

Downing seems to suggest that he can survive a motion to dismiss by “simply . . .



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alleg[ing] sufficient facts to demonstrate the alleged violation, as pled, amounts to

an objectively unreasonable reading of the statute.” Downing Br. at 29 (emphasis

added) (quoting Moore v. Rite Aid Headquarters Corp., 2015 WL 3444227, at * 10

(E.D. Pa. May 29, 2015)). The alleged dispositive “facts” upon which Downing

seeks to rely are that (1) “Lowe’s has faced prior lawsuits regarding the FCRA’s

disclosure requirements and [(2)] the plain language of established law and clear

judicial and administrative guidance counsels against including extraneous

language.” Downing Br. at 29–30. According to Downing, these “facts” support an

inference of willfulness sufficient to withstand a motion to dismiss. See id.

      For at least three reasons, Downing is mistaken.

      First, Downing cannot demonstrate willfulness based on the existence of prior

(unidentified) lawsuits against Lowe’s challenging different disclosures.       And

Downing cites no case in which the Lowe’s disclosure at issue here was found

unlawful. Instead, as best as Lowe’s can tell, Downing is referring to Brown v.

Lowe’s Companies, Inc., No. 5:13-cv-79 (W.D.N.C.), which involved an entirely

different disclosure that was challenged for entirely different reasons, and which

settled without any merits adjudication. Other than the fact that both cases involved

the FCRA and Lowe’s, the alleged violations in Brown have nothing in common




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with Downing’s claims. See Second Am. Compl., No. 5:13-cv-79 (W.D.N.C. Jan.

16, 2015), ECF 56 at 12, Ex. A.9

       Second, Downing is incorrect to suggest that the determination of willfulness

is necessarily a question of fact. Willfulness can be decided as a matter of law where,

as here, the answer is obvious based on text, precedent, and FTC guidance. See

Syed, 853 F.3d at 503 (“We may resolve this question as a matter of law, as the

parties acknowledge.”); see also Safeco, 551 U.S. at 71 (holding that there was no

need for the court of appeals to remand the willfulness question for factual

development because the defendant’s misreading of the statute was not reckless).

Accordingly, courts “may, and often do, determine on the pleadings that a plaintiff

failed to plead willfulness” when the defendant’s “interpretation of the relevant

statute . . . was not objectively unreasonable.” Pedro v. Equifax, Inc., 868 F.3d 1275,

1282 (11th Cir. 2017). Indeed, this Court has done the same. See Mitchell v. WinCo

Foods, LLC, 828 F. App’x 467 (9th Cir. 2020) (mem. op.).

       Third, a defendant’s “subjective bad faith” or “subjective intent” is irrelevant

to whether its reading of the FCRA’s requirements is “objectively [un]reasonable.”




9   The disclosure in Brown allegedly included a certification that the facts in the
    applicant’s employment application were “true and accurate”; a liability waiver;
    and acknowledgments of a drug test, at-will employment, and that “Lowe’s is an
    ‘equal opportunity employer.’” Second Am. Compl., No. 5:13-cv-79 (W.D.N.C.
    Jan. 16, 2015), ECF 56 at 12, Ex. A.

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Safeco, 551 U.S. at 70 n.20 (“To the extent that [respondents] argue that evidence of

subjective bad faith can support a willfulness finding even when the company’s

reading of the statute is objectively reasonable, their argument is unsound.”). Thus,

whatever facts Downing alleges about Lowe’s subjective knowledge of the FCRA’s

requirements are irrelevant to the willfulness inquiry.

      The outcome in this case is easily resolved as a matter of law given the text,

this Court’s decision in Walker, and the only on-point FTC guidance.

                                    Conclusion

       For these reasons, the Court should affirm the district court’s order,

dismissing Downing’s claims against Lowe’s.



Dated: January 16, 2024                       Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume limitation of Ninth

Circuit Rule 32-1(a) because it contains 9,383 words, excluding the parts of the brief

exempted by Federal Rule of Appellate Procedure 32(f).

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Dated: January 16, 2024
                                                                /s/ Jason C. Schwartz
